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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                               Chapter 11

FIRESTAR DIAMOND, Inc., et al.,                                      No. 18-10509(SHL)

Debtors,                                                             (Jointly Administered)

 ___________________________________________

Richard Levin, Chapter 11 Trustee of FIRESTAR
DIAMOND, INC., FANTASY, INC., and OLD AJ,
INC., f/k/a A. JAFFE, INC.,

                                Plaintiff,
           v.                                                        Adv. Proc. No. 20-01054(SHL)

AMI JAVERI (A/K/A AMI MODI), et al.,

                               Defendants.

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                         REPLY MEMORANDUM OF LAW
                IN SUPPORT OF NEHAL MODI’S MOTION TO DISMISS




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       Defendant Nehal Modi respectfully submits this Reply Memorandum of Law in further

support of his Motion to Dismiss (Dkt. No. 46) and in response to the Trustee’s Omnibus

Opposition to Defendant’s Motions to Dismiss (“Opposition Brief” or Op. Br.”).

I.     The Trustee’s Arguments Concerning Imputation Overlook Applicable Federal
       Law and Fail to Distinguish Wagoner Imputation from In Pari Delicto Defense

       The Trustee’s lengthy exegesis concerning imputation principles conceals as much as it

reveals. The burden of the Trustee’s argument is that only “innocent third parties” may impute

agent misconduct to a plaintiff corporation. See Op. Br. at 42-45. However, the argument is

grounded only in state law cases from Delaware and New York concerning principles of agency.

Curiously lacking is any discussion of leading federal cases in which alleged co-conspirators –

who are not innocent third parties -- are able to raise an in pari delicto defense. The law

concerning in pari delicto is not grounded in agency; it is grounded in public policy concerns

about enforcement of statutes. See, e.g., Bateman Eichler, Hill Richards, Inc. v. Berner, 472

U.S. 299, 315 (1985) (discussing enforcement of securities laws in insider trading context).

       In translation, in pari delicto means “of equal fault”. A “delict” is generally translated as

denoting an offense, often criminal, or a tort, or simply a “wrongful act”. In re Merrill Lynch

Auction Rate Sec. Litig., 758 F. Supp. 2d 264, 276 (S.D.N.Y. 2010). No federal case has barred

a co-conspirator who is not an “innocent third party” and is a participant in alleged wrongdoing

from raising this defense. Indeed, the core federal policy is simply comparative fault; the less

culpable party can raise this defense against a more culpable plaintiff. Bateman Eichler, 472

U.S. at 310-12 (“private action for damages . . . may be barred on the grounds of the plaintiff’s

own culpability only where (1) as a direct result of his own actions, the plaintiff bears at least

substantially equal responsibility for the violations he seeks to redress”); Republic of Iraq v. ABB

AG, 768 F.3d 145, 167-68 (2d Cir. 2014) (applying comparative fault test). The Opposition

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Brief makes reference to Bateman Eichler in passing, see Op. Br. at 50, but never addresses the

significance of in pari delicto and the comparative fault policy it embodies.

       Equally on point is the Court of Appeals decision in Republic of Iraq, supra. There the

defendants were alleged to be culpable parties in a complex scheme to defraud the U.N. Oil for

Food Programme by means of inflated prices and kickbacks to the plaintiff government. See 768

F.3d at 157. The Court of Appeals had no difficulty in holding that these very culpable co-

conspirators – in a RICO conspiracy case under 18 U.S.C. 1962(d) – could raise an in pari

delicto defense. Republic of Iraq, 768 F.3d at 16-69.

       The Opposition Memorandum attempts to brush off the federal in pari delicto cases by

claiming that they embody an “insider” exception and an “adverse interest” exception. Opp. Br

at 51. But here the Trustee fails to come to terms with In re Lehr Constr. Corp., 551 B.R. 732

(S.D.N.Y. 2016), aff’d, 666 Fed. App’x 66 (2d Cir. 2016). On appeal from the Bankruptcy

Court, the district court held that “the in pari delicto defense exists as a matter of federal

common law, as well as under the laws of the various states.” In re Lehr, 551 B.R. at 739. The

court rejected the concept of a separate “insider exception” or “bankruptcy insider” exception to

the in pari delicto principle. It held that the only available exception – under New York law –

would be a narrowly construed adverse interest exception. 551. B.R. at 740. It is highly

misleading, to say the least, to cite a supposed “insider exception” in a discussion of state law

when controlling authority holds that none exists. And the court never upheld an “insider

exception” as a matter of federal law.

       The Supreme Court has not had occasion to decide whether there is an adverse interest

exception to the in pari delicto defense, and the Second Circuit simply assumed its existence in

Republic of Iraq, supra. See 768 F.3d at 166. However, as the Court of Appeals there noted,



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this is “this [is the] most narrow of exceptions . . . ”. Id. The Trustee attempts to squeeze within

this exception by citing alleged corporate looting by Bensali and Gandhi. Opp. Br. at 49-50. But

that activity began only in December of 2017 and ended less than a year later in October of 2018.

Complaint, ¶¶ 195-242. The bank fraud, however, which was immensely profitable to the

Debtors as well as to Bensali and Gandhi, began in 2010 and continued for seven years until

“late May of 2017”. Complaint, ¶¶ 91 & 184. Millions of dollars (however accounted for) came

in to the Debtors during this period. Complaint, ¶¶ 91, 99, 128-29. There is no precedent for

disregarding seven years of officer activity beneficial to a corporation and limiting examination

to only one year in order to apply the adverse interest exception. The Trustee offers no

explanation for his attempt to have the Court apply the adverse interest exception so selectively.

          The Trustee attempts to avoid the principle that he is subject to the same defenses as the

Debtors1 by claiming that he can avoid shifting ill-gotten assets from one co-conspirator to

another. However, there is no authority in this Circuit – and the Trustee cites none -- that

permits a trustee to shed debtor defenses selectively. Second Circuit case law is clear that a

trustee alleging a RICO violation is barred by the in pari delicto defense if the debtor’s

wrongdoing warrants applying it. If this defense were unavailable despite the debtor’s criminal

acts, a co-conspirator’s “recovery under RICO would not divest RICO violators of their ill-gotten

gains; it would result in a wealth transfer among similarly situated conspirators.” Republic of

Iraq, 768 F.3d at 167 (quoting Official Comm. of Unsecured Creditors of PSA, Inc. v. Edwards,

437 F.3d 1145, 1155 (11th Cir. 2006)).

          The Trustee’s proposed solution – disallowing claims of alleged co-conspirators – is not

only improvisational; it has no supporting basis in law. In fact, it raises more questions than it


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    Bank of Marin v. England, 385 U.S. 99, 101 (1966) (“. . . the trustee is subject to all claims and
    defenses which might have been asserted against the bankrupt but for the filing of the petition”).
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answers. For instance, the Punjab Bank may claim victim status; however, the alleged bribe-

taking of the key loan officer (Shetty) implicates the bank in the fraudulent LOU transactions.

The trials and complexities involved in litigating claim disallowance for multiple alleged co-

conspirators cannot be brushed away. Although the Trustee cites a case decided in the Third

Circuit, In re Jamuna Real Estate LLC, 365 B.R. 540, 559 (Bankr. E.D. Pa. 2007), as an example

of disallowing claims of wrongdoers in order to avoid the transfer of illicit assets from one

wrongdoer to another, that is not what happened in that case. The court in Jamuna noted that

there were no secured parties, that the priority claims were almost entirely tax debt, and that the

remaining obligations were to third-party receivables purchasers. Its discussion of disallowing

co-conspirator claims was expressly theoretical. See 365 B.R. at 559. The principal holding in

the case concerning in pari delicto was a comparative fault analysis under Bateman, Eichler in

which the court concluded that the defendants were far more culpable than the debtor. Id.

        The Trustee reaches back to the nineteenth century decision in Union Bank v. Mott, 1863

WL 4108 (N.Y. Gen. Term. 1863) to try to find support for its attempt to bar co-conspirators from

pleading an imputation defense. Not only was Union Bank not a federal in pari delicto case;

involving a significant remedial federal statute, but its actual holding is also not on point at all. The

case involved a conspiracy between a bookkeeper at the bank and an agent employed by Mott to

inflate Mott’s deposits with false credit entries and then share the resulting fictitious balance (at the

bank’s expense). Mott was unaware of the fraudulent activities of his agent. The bank sued Mott.

Mott did not invoke an in pari delicto defense. The court, following trial, simply held that

responsibility for the fraud lay with the bank and not with Mott, because “t]he loss then is

occasioned by the fraud of an agent, clerk and servant of the bank.” Id. at 2. In dicta, which is

what the Trustee emphasizes (Opp. Br. at 48), the court noted that the bank could sue its own

bookkeeper. Id. That statement is dicta because there was no (reported) suit against the

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bookkeeper, hence no occasion for him to defend on in pari delicto grounds. The trial court

never had occasion to address or decide that question. It is something of a mystery that this case

is being cited, therefore.

II.     The Trustee’s Waiver Argument Lacks Merit

        In the Opposition Brief the Trustee contends that defendant Nehal Modi (and other

defendants) waived any argument that the alleged predicate acts are insufficiently particularized

or time barred because “[n]one of them discusses the legal requirements for each predicate act or

explain (sic) why the Trustee’s allegations are purportedly deficient.” Opp. Br. at 14. This is a

rank distortion. Defendant Nehal Modi (and other defendants) expressly incorporated by

reference the arguments already made multiple times by other defendants addressing these

issues. See, e.g., Memorandum of Law in Support of Nehal Modi’s Motion to Dismiss, at 16-17.

No known principle of law or procedure bars incorporation by reference of arguments made by

others. This procedure is patently preferable where arguments are already fully briefed and

hundreds of pages of overlapping arguments have already been submitted to the Court. Notably,

elsewhere in his Opposition Brief the Trustee expressly incorporates his own prior arguments.

See Op. Br. at 24.

III.    Dismissal Should Also Be Granted on the Other Grounds Asserted by Nehal Modi

        Nehal Modi incorporates by reference the reply arguments made by other defendants to

the arguments in Part IV of his Memorandum of Law in Support of Nehal Modi’s Motion to

Dismiss (Dkt. No. 47) that are based on the same grounds as the other defendants’ motions to

dismiss, i.e., lack of standing, lack of direct injury, failure to allege domestic injury, and statute

of limitations.

                                           CONCLUSION



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       For the reasons stated above and in Nehal Modi’s initial Memorandum of Law, the Court

should dismiss the RICO conspiracy causes of action against him.

Dated: New York, New York
       March 5, 2021
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